       Case 3:17-cr-00216-AA     Document 51     Filed 12/30/20   Page 1 of 27




                   IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF OREGON

                              PORTLAND DIVISION




UNITED STATES OF AMERICA,                               Case No. 3:17-CR-00216-AA
                                                          OPINION AND ORDER
             Plaintiff,

      vs.

LELAND TODD BOOZER

             Defendant.


AIKEN, District Judge:

      On June 13, 2017, defendant Leland Todd Boozer was indicted on two counts

of distribution of child pornography, in violation of 18 U.S.C. §§ 2252A(a)(2) and

(b)(1), and one count of possession of child pornography, in violation of 18 U.S.C. §§

2252A(a)(5)(B) and (b)(2). On March 5, 2018, defendant filed a motion to suppress,

request for production of witness statements, or, in the alternative, motion for a

Franks hearing. For the reasons set forth herein, the Court grants the motion to




Page 1 – OPINION AND ORDER
          Case 3:17-cr-00216-AA   Document 51    Filed 12/30/20   Page 2 of 27




suppress, denies without prejudice at this time the request for production of witness

statements,1 and denies the motion for a Franks hearing.

                                  BACKGROUND

      On September 16, 2012, U.S. Secret Service Special Agent David Huntoon

performed an internet investigation for the identification of individuals who possess

and share child pornography on the Ares network a Peer to Peer (“P2P”) file sharing

program. In his search, Agent Huntoon found a computer, with the IP address

76.105.250.200, willing to share 52 files on the Ares network.        Agent Huntoon

downloaded seven of the fifty-two files from that IP address. The files were files of

interest, meaning the files had been previously identified by law enforcement as

pertaining to the exploitation of children. Law enforcement agencies use software

to identify files of interest that have been previously identified by law enforcement

as pertaining to child exploitation by their hash value, an alpha-numeric value

generated to serve as a file’s digital finger print.2 A file becomes a file of interest

when the hash value has been previously identified by law enforcement as one that



      1  Rule 26.2 for the Federal Rules of Criminal Procedure states that “[a]fter a
witness other than the defendant has testified on direct examination, the court, on
motion of a party who did not called the witness, must order an attorney for the
government . . . to produce, for the examination and us of the moving party, any
statement of the witness that is in their possession and that relates to the subject
matter of the witness’s testimony. In their response motion, “[t]he government has
already produced all written reports, logs, and similar documents pertaining to the
undercover downloads.” Doc. 31 at 2. Additionally, the government states that
“[m]ost of the witnesses who the government expects to call at the suppression
hearing did not testify before the grand jury.” Doc. 31 at 2. Absent of identification
of specific information, this Court must deny the motion.
       2 The software then logs the IP address of a computer offering to share files of

interest and attempts to download those files from the computer.
Page 2 – OPINION AND ORDER
       Case 3:17-cr-00216-AA     Document 51     Filed 12/30/20   Page 3 of 27




could have child pornography, depicted subjects that may or may not be under 18,

child erotica, or non-pornographic images from a known child pornography series.

Agent Huntoon sent the hash values of the downloaded files to the National Center

for Missing and Exploited Children (“NCMEC”).              NCMEC reported to Agent

Huntoon that one of the files submitted had not been previously submitted to

NCMEC, one file depicted a child victim who had been previously identified by a

law enforcement officer, and six files had been previously submitted to the NCMEC,

but the children and had not been positively identified.

      On September 19, 2012, Agent Huntoon sent U.S. Secret Service Special

Agent Adam Sale the downloaded files, hash values, and IP address information.

Agent Sale determined on September 21, 2012 that Comcast, an internet provider,

assigned the IP address in question. Five days later, on September 27, 2012, Agent

Sale sent a summons to Comcast for the information regarding the identity of the

subscriber to the IP address. Comcast responded that defendant, Leland Boozer,

was the subscriber and that the address on the account was 3761 SE Division St.,

Portland OR, 97402-1547. The U.S. Postal service confirmed that the address in

question was listed under defendant’s name. In November 2012, Assistant U.S.

Attorney (“AUSA”) Gary Sussman requested Agent Sale draft an affidavit in

support of a search warrant to search Boozer’s residence.         After the draft was

submitted in December 2012, the AUSA requested additional investigation.

       In March 2013, Agent Sale contacted AUSA Sussman about the search

warrant for Boozer’s address; AUSA Sussman requested that another attempt be



Page 3 – OPINION AND ORDER
       Case 3:17-cr-00216-AA    Document 51    Filed 12/30/20   Page 4 of 27




made to download files from Boozer’s IP address to freshen the probable cause for

the search warrant.   Agent Sale reported that Agent Huntoon was not able to

complete any additional downloads, and the IP address in question was no longer

logged into the Ares network.     The following June, Agent Sale asked AUSA

Sussman request a subpoena for defendant’s IP address, and AUSA Sussman asked

Agent Sale to pursue other options before seeking the subpoena. Agent Sale also

consulted with Special Agent Jim Williams of the Oregon Internet Crimes Against

Children Task Force (“ICAC”) about other investigative options.        Agents Sale

submitted another draft warrant the AUSA in July of 2013, but the warrant was

not presented to a Magistrate Judge at that time.

      On October 31, 2013, Agent Sale, Agent Williams, and ICAC Special Agent

Mark Posler went to defendant’s address to do a “knock and talk” – a consensual

encounter in which they hoped to talk to defendant about the investigation. Agents

arrived at the residence between 9:00 am and 10:30 am. Defendant was not home,

but his roommate Camelia Nine was home and answered the door. The agents

identified themselves to Ms. Nine and explained that they were investigating the

downloading of computer files by someone in the apartment complex. Ms. Nine

gave the agents verbal consent to enter the apartment. Once inside, the agents saw

a computer system set up and operating in the living room.      Ms. Nine explained

that the computer in the living room belonged to defendant, and that she owned an

Apple computer. Ms. Nine also stated that defendant had the computer built about

five months previously. Ms. Nine consented to a search of her computer. In front of



Page 4 – OPINION AND ORDER
        Case 3:17-cr-00216-AA   Document 51     Filed 12/30/20   Page 5 of 27




Ms. Nine, Agent Posler told Agent Sale that there was no evidence of child

pornography or Ares client software on the computer.             After some further

discussion, the agents left the apartment and asked Ms. Nine not to contact

defendant.

      After leaving the apartment, Agent Sale drove to defendant’s workplace while

Agent Posler and Williams waited in a separate car near his apartment. Once

Agent Sale arrived at defendant’s place of work, he spoke with the human resources

director.    The director informed him that defendant left about half an hour

previously to go home. Agent Sale was unable to locate defendant at or around his

workplace.    Agent Sale returned to defendant’s apartment, and Ms. Nine again

invited the agents into the apartment. Ms. Nine stated that she called defendant

after the agents left and told him that the agents had come to the apartment and

were looking for computers with the Ares P2P file sharing program.         Ms. Nine

allowed the agents to remain in the apartment waiting for defendant to return

home. She also phoned defendant again and asked him to return home to speak

with the agents.    Defendant never returned to the apartment while the agents

waited for him to return.   Agent Sale stated that he grew concerned about the

possibility of defendant returning home and destroying the evidence stored on his

computer. Thus, at around 12:30 pm, after consulting with a prosecutor, Agent Sale

seized the computer until he could apply for a search warrant.

      After Agent Sale seized the computer, Agent Posler helped in disconnecting

the computer and all the equipment. During this process, Agent Sale reported that



Page 5 – OPINION AND ORDER
          Case 3:17-cr-00216-AA   Document 51   Filed 12/30/20   Page 6 of 27




the side panel of the computer tower fell off as it was pulled from under a table,

which exposed the contents of the tower. Agent Sale and Agent Posler saw into the

computer tower and noted one hard drive mounted into the computer tower and two

additional hard drives sitting on the bottom of the tower. These other two hard

drives were dusty and appeared to the agents to be older than five months. Agent

Posler then arranged the tower and the additional hard drives inside to be

transported without being damaged. Agent Sale took possession of all the computer

equipment.

      Eight days later, on November 8, 2013, Agent Sale presented an affidavit for

a search warrant to U.S. Magistrate Judge Paul Papak who granted a warrant to

search the contents of the items seized from defendant’s apartment.3 Prior to the

issuance of the warrant, Agent Posler secured the computer equipment in his

forensic laboratory without searching or examining it.

      Agent Sale sent copies of the warrant, the application, and the affidavit to

Agent Posler informing him that the task force could proceed with the examination.

Agent Sale neglected, however, to send Attachments A and B of the warrant to

Agent Posler. Attachment A described the items that were to be searched, while

Attachment B described the items that could be searched for and seized and when

the search had to be completed. The time limit was 180 days. Agent Posler noticed

Attachment A was missing from the documents he received from Agent Sale. After


      3 In his declaration, Agent Sale notes that he drafted the affidavit two days
after the search, and then sent it U.S. Attorney for review. Revisions and edits
were then traded over the next few days before the final affidavit was submitted to
Magistrate Judge Papak.
Page 6 – OPINION AND ORDER
       Case 3:17-cr-00216-AA       Document 51   Filed 12/30/20   Page 7 of 27




inquiring, Agent Sale sent Attachment A to him.        Agent Posler never received

Attachment B, but he avers that he knew the warrant authorized a search for

evidence of child pornography offenses. Agent Posler began imaging the first of the

devices on November 12, 2013, and all the forensic images were completed and

verified by November 21, 2013. Agent Sale then retrieved the computer equipment

on December 3, 2013 and returned it to the Secret Service’s evidence vault. The

initial forensic examination of the computer equipment was completed on or about

June 1, 2016, some two and a half years later. On June 13, 2017, defendant was

indicted on child pornography charges. Doc. 1.

      On November 28, 2017, Secret Service Special Agent Carl Klein obtained a

second search warrant from U.S. Magistrate Judge Paul Papak for the computer

equipment. The second warrant was to cure deficiencies of the previous warrant

regarding Attachment A and B and the fact that a return that was never filed. In

his affidavit is support of the warrant, Agent Klein attested that the images taken

during the initial examination would be sealed and a new examination would be

conducted by a new examiner. After the warrant was issued, Agent Klein took the

computer equipment to the United States Department of Homeland Security

forensic laboratory in Portland.

      On December 11, 2017, after the re-examination of the computer began,

defendant filed a motion for a stay in the examination and requested a discovery

and evidentiary hearing. This Court denied that motion. Doc. 17.




Page 7 – OPINION AND ORDER
       Case 3:17-cr-00216-AA      Document 51   Filed 12/30/20    Page 8 of 27




      On March 5, 2018, defendant filed the present motion to suppress, request for

production of witness statements, and, in the alternative, motion for a Franks

hearing. Doc. 24. An evidentiary hearing was held October 22, 2018. Doc. 45.

Following the hearings, the parties engaged in supplemental briefing to the Court.

                            STANDARD OF REVIEW

      The Fourth Amendment prohibits unreasonable searches and seizures by the

government. U.S. Const. Amend. IV. In the context of personal property, and

particularly containers, the Fourth Amendment challenge is typically to the

subsequent search of the container rather than to its initial seizure by the

authorities. United States v. Place, 462 U.S. 696, 700–01, (1983). In the ordinary

case, seizure of personal property is per se unreasonable within the meaning of the

Fourth Amendment unless it is accomplished pursuant to a judicial warrant issued

upon probable cause and particularly describing the items to be seized. Id. Where

law enforcement authorities have probable cause to believe that a container holds

contraband or evidence of a crime, but have not secured a warrant, the Supreme

Court has interpreted the Amendment to permit seizure of the property, pending

issuance of a warrant to examine its contents, if the exigencies of the circumstances

demand it or some other recognized exception to the warrant requirement is

present. Id.

      A   warrantless   seizure    requires   both   probable    cause   and     exigent

circumstances.    Probable cause exits when “there is a fair probability that

contraband or evidence of a crime will be found in particular place.” Illinois v.



Page 8 – OPINION AND ORDER
        Case 3:17-cr-00216-AA    Document 51     Filed 12/30/20   Page 9 of 27




Gates, 462 U.S. 213, 238 (1983). Further describing that probable cause is “a fluid

concept ─ turning on the assessment of probabilities in particular factual contexts −

not readily, or even usefully, reduced to a neat set of legal rules.” Id. at 232. The

Ninth Circuit has defined exigent circumstances as those that “would cause a

reasonable person to believe that [a seizure] . . . was necessary to prevent physical

harm to the officers or other person, the destruction of relevant evidence, the escape

of the suspect, or some other consequence improperly frustrating legitimate law

enforcement efforts.” United States v. Brooks, 367 F.3d 1128, 1135 (9th Cir. 2004)

(internal quotation marks and citation omitted). Exigent circumstances are fact

specific and depend on the totality of the circumstances. United States v. Arellano-

Ochoa, 461 F.3d 1142, 1145 (9th Cir. 2006). The exigencies must be viewed from

the totality of circumstances known to the officers at the time of the warrantless

intrusion. United States v. Licata, 761 F.2d 537, 543 (9th Cir. 1985) (citing People of

Territory of Guam v. Borja, 732 F.2d 733, 736 (9th Cir.1984)).

      “Evidence derivative of a Fourth Amendment violation—the so-called fruit of

the poisonous tree—is ordinarily tainted by the prior illegality and thus

inadmissible, subject to a few recognized exceptions.” United States v. Gorman, 859

F.3d 706, 716 (9th Cir. 2017) (internal citations and quotation marks omitted). As a

general rule, the defendant bears the burden of proof on a motion to suppress

evidence. United States v. Caymen, 404 F.3d 1196, 1199 (9th Cir. 2005). Because

warrantless searches are presumptively unreasonable, however, the burden of




Page 9 – OPINION AND ORDER
       Case 3:17-cr-00216-AA    Document 51     Filed 12/30/20   Page 10 of 27




proving that a warrantless seizure did not violate the Fourth Amendment is on the

government. United States v. Scott, 705 F.3d 410, 416 (9th Cir. 2012).

       Not every violation of the Fourth Amendment triggers the application of the

exclusionary rule. Herring v. United States, 555 U.S. 135, 140 (2009) (the fact that

a Fourth Amendment violation occurs “does not necessarily mean that the

exclusionary rule applies;” the Supreme Court has “repeatedly rejected the

argument that exclusion is a necessary consequence of a Fourth Amendment

violation”).   The exclusionary rule’s “sole purpose” is “to deter future Fourth

Amendment violations.” Davis v. United States, 564 U.S. 229, 236-37 (2011). A

court must balance the nature and quality of the intrusion on the individual's

Fourth Amendment interests against the importance of the governmental interests

alleged to justify the intrusion.4 Place, 462 U.S. at 703. When the nature and extent

of the detention are minimally intrusive of the individual's Fourth Amendment

interests, the opposing law enforcement interests can support a seizure based on

less than probable cause. Id.

///

///

///



       4“Different interests are implicated by a seizure than by a search.” Segura v.
United States, 468 U.S. 796, 806 (1984). A seizure “affects only the person’s
possessory interests,” whereas a search “affects a person’s privacy interests.” Id. at
806. Society’s interest in “the discovery and protection of incriminating evidence
from removal or destruction can supersede, at least for a limited time period, a
person’s possessory interest in property, provided that there is probable cause to
believe that [the] property is associated with criminal activity.” Id. at 808.
Page 10 – OPINION AND ORDER
       Case 3:17-cr-00216-AA     Document 51     Filed 12/30/20   Page 11 of 27




                                   DISCUSSION

I.    Motion to Suppress

      This Court finds that the seizure of defendant’s computer violated defendant

rights under the Fourth Amendment of the Constitution, as there were no exigent

circumstances and probable cause was too stale to justify the warrantless seizure.5

A.    Warrantless Seizure of the Home Computer

      Defendant argues that there was no probable cause or exigent circumstance

to justify the warrantless seizure of his computer and hard drives, and therefore,

the exclusionary rule requires suppression of this evidence. Defendant maintains

that probable cause for the seizure and subsequent search was stale. Defendant

further contends that there was no exigency that would allow the government to

seize his computer during the October 31, 2013 knock and talk.

1.    Probable Cause to Seize the Computer

      Defendant argues that the probable cause upon which the warrantless

seizure was based was stale due to the thirteen-month intervening period between

Agent Huntoon downloading files from defendants’ IP address and the October 31,

2013 warrantless seizure. To seize by exigency, both probable cause and exigency

must exist. Specifically, a container can be seized without a warrant if an officer has

“[p]robable cause to believe that [it] holds contraband or evidence of a crime …

pending issuance of a warrant to examine its contents, if the exigencies of the



      5 As the Court finds find there were no exigent circumstances and no
probable cause, there is no need to analyze defendant’s arguments regarding the
hard drives found in his computer tower.
Page 11 – OPINION AND ORDER
       Case 3:17-cr-00216-AA     Document 51    Filed 12/30/20   Page 12 of 27




circumstances demand it or some other recognized exception to the warrant

requirement is present.” Place, 462 U.S. at 701.        A staleness claim must be

evaluated by this Court “[i]n light of the particular facts of the case and the nature

of the criminal activity and property sought.” United States v. Greathouse, 297 F.

Supp. 2d 1264, 1270 (D. Or. 2003). “[T]he mere lapse of substantial amounts of time

is not controlling.” Greathouse, 297 F.Supp.2d at 1270 (quoting Lacy, 119 F.3d at

745). Probable cause is not stale “if there is sufficient basis to believe, based on a

continuing pattern or other good reasons, that the items to be seized are still on the

premises.” United States v. Schesso, 730 F.3d 1040, 1047 (9th Cir. 2013) (quoting

United States v. Lacy, 119 F.3d 742, 745 (9th Cir. 1997)).

      Defendant argues that the thirteen-month lapse in time from the initial

download to when the computer was seized alone caused the probable cause in this

case to become stale. Defendant also argues that there was an intervening event

that further diminishes probable cause. The computer in question was built eight

months after the initial download and five months prior to when the agents seized

it. Importantly, the agents were made aware of this fact when initially interviewing

Ms. Nine. Defendant argues that once the agents knew that the computer was

purchased after the date Agent Huntoon download the illicit files, they did not have

probable cause to believe that those files were on this new computer.

      The government argues that there was enough probable cause to believe that

evidence of the crimes of distribution and possession of child pornography would be

found on defendant’s computer equipment for several reasons.         First, less than



Page 12 – OPINION AND ORDER
       Case 3:17-cr-00216-AA    Document 51     Filed 12/30/20   Page 13 of 27




fourteen months before the knock and talk, Agent Huntoon had downloaded child

pornography files from an IP address known associated with defendant and his

home address. When agents questioned Ms. Nine, she revealed that both she and

defendant accessed the internet through a secure wireless network which required a

password to access. However, she also told agents that to her knowledge no one

other than defendant and herself had access to the network and used it. Finally,

the government argues that once agents searched Ms. Nine’s personal computer and

found no evidence of child pornography or the Ares P2P software, Agent Sale had

probable cause to believe that evidence of the crimes of distribution and possession

of child pornography would be found on defendant’s computer equipment. As to

defendant’s argument that Ms. Nine revealed that the computer in question was

built several months after September 2012 downloads by Agent Huntoon, the

government responds that agents saw the two older hard drives which looked as

though they had been salvaged from an older computer after the panel came off of

the tower.

      Information is not stale if “there is a sufficient basis to believe, based on a

continuing pattern or other good reasons, that the items to be seized are still on the

premises.” Lacy, 119 F.3d at 745. See also Schesso, 730 F.3d 1040 (panel held that

the issuing judge had ample reason to believe that child pornography uploaded to

peer to peer file sharing network would be present at the defendants resident

twenty months after the upload, where the affiant explained that individuals who

possess, distribute, or trade in child pornography, “rarely, if ever, dispose of



Page 13 – OPINION AND ORDER
          Case 3:17-cr-00216-AA   Document 51    Filed 12/30/20   Page 14 of 27




sexually explicit images of children because these images are treated as prized

possessions.”)

      The government urges that here, as in Schesso, Agent Sale knew and

attested, based on his training and experience, that “individuals who collect and

trade in child pornography” often retain their collections of child pornography “for

extended periods of time,” and “treat their collections as prized possessions, rarely

disposing of them entirely.” Ex. A at 52, ¶ 16. Thus, the fourteen-month delay here

did not alone mean the necessary probably cause had become stale.

      The Court finds that probable cause was too stale here to justify the seizure.

Prior to the knock and talk, agents were told by prosecutors that more investigatory

work needed to be done to freshen probable cause.         Then upon engaging with

defendant’s roommate thirteen months after the initial downloads, agents learned

that the computer system belonging to defendant was only approximately five

months old.      The government also could not explain the existence of a third

computer in the apartment which appeared much older than tower which was

seized. Ex. E3. Agents testified that they know nothing about that computer. No

questions were asked of Ms. Nine about it. Nothing was done about it save, taking

photos.     The Government argues that the existence of this tower is not relevant,

however, at a minimum it would certainly fail to enhance probable cause to support

a seizure of the newer computer tower.          Finally, the government’s argument

regarding the two older hard drives found in the computer tower, overlooks the fact

that agents only learned of them after beginning a warrantless seizure.



Page 14 – OPINION AND ORDER
       Case 3:17-cr-00216-AA     Document 51     Filed 12/30/20   Page 15 of 27




       The Court is mindful that probable cause must be judged on the particular

facts of this case. While this case presents a close question, the Court finds that

agents did not have sufficient probable cause seizure of the computer tower. While

it is true that in a number of child pornography cases staleness arguments based on

the passage of time alone have been rejected by other courts, it is still an important

factor to be considered.   Given the thirteen months between obtaining the initial

evidence and the October 2013 seizure, defendant’s lack of prior criminal history or

contact with law enforcement, the lack of evidence regarding ongoing criminal

activity, as well as the agents knowledge that computer in question was built well

after Agent Huntoon’s downloads, the Court finds that the information giving rise

to probable cause was too stale at the time of the warrantless seizure to justify the

government’s actions.

2.    Exigent Circumstances

      As the Court noted, the question of whether probable cause was stale at the

time of the seizure is a close question. However, even assuming that there was

probable cause to believe evidence of the alleged criminal activity would be found on

the computer, the Court finds that there were no exigent circumstances which

justified the warrantless seizure, and the government had ample opportunity to

seek a warrant from a Magistrate Judge at the time of the seizure.

      Exigent circumstances are those that “would cause a reasonable person to

believe that [a seizure] . . . was necessary to prevent physical harm to the officers or

other person, the destruction of relevant evidence, the escape of the suspect, or some



Page 15 – OPINION AND ORDER
         Case 3:17-cr-00216-AA     Document 51    Filed 12/30/20   Page 16 of 27




other consequence improperly frustrating legitimate law enforcement efforts.”

Brooks, 367 F.3d at 1135 (internal quotation marks and citation omitted). Here, the

government maintains that exigency existed because the agents justifiably believed

that the seizure was necessary to prevent the destruction of evidence, namely the

contraband files they believed were contained on defendants’ computer.

         Defendant urges that his actions did not rise to the level of exigency required

to justify a warrantless search. After defendant learned that agents had spoken

with Ms. Nine, he did not return home and could not be located at work. Agent Sale

stated that he thought defendant was trying to avoid them. Further, Agent Sale

explained that did not think that securing the computer equipment at the

defendant’s residence while he applied for a warrant was a good option at that

point.

         Inconvenience does not give rise to an exigent circumstance. See Coolidge v.

New Hampshire, 403 U.S. 443, 469 (1971) (without actual objective evidence of

exigency, inconvenience in procuring a warrant is insufficient to justify warrantless

seizure). When an officer claims that securing a warrant is impractical there must

be objective facts demonstrating exigency over the mere refusal to comply with an

officer’s request. Missouri v. McNelly, 569 U.S. 141, 146 (2013). Defendant states

that the government hasn’t put forward any argument explaining why obtaining a

warrant was unavailable or impractical. United States v. Alvarez, 810 F.2d 879, 883

(9th Cir. 1987).




Page 16 – OPINION AND ORDER
       Case 3:17-cr-00216-AA    Document 51    Filed 12/30/20   Page 17 of 27




      The government argues that the failure to obtain a warrant for computer was

not based on inconvenience to the agents. Rather, the government notes that the

agents were in the middle of an investigation for much of the time that defendant

contends they could have sought a warrant.          Part of the two hours spent

investigating on October 31, 2013, were taken up with Agent Sale traveling to and

from defendant’s place of work. Another portion of that time was used to converse

with Ms. Nine and look at her computer. The government contends that it would

have been impractical and that it was not required of Agent Sale to stop and get a

search warrant at the first hint of probable cause, particularly since defendant

appeared to be avoiding the agents, and electronic data can be easily destroyed.

      Defendant cites to Kentucky v. King, arguing that the agents created the

exigency to seize the computer. 131 S. Ct. 1849, 1862 (2011). However, the Court

there held that “the exigent circumstances rule applies when the police do not gain

entry to premises by means of an actual or threatened violations of the Fourth

Amendment.” Id. The government correctly points out that Ms. Nine consented to

the officers entering the apartment. Still, defendant seeks to distinguish King.6

There, the Supreme Court found no violation of the Fourth Amendment based on

the police-created exigency doctrine where officers knocked on a door and then

heard noises coming from the apartment which officers believed consistent with

noise in the destruction of evidence before immediately entering the premises



      6 Defendant also seeks to distinguish similar cases where a warrantless
seizure was upheld. See United States v. Brown, 701 F.3d 120 (9th Cir. 2012);
United States v. Licata, 761 F.2d 537, 543 (9th Cir. 1985)
Page 17 – OPINION AND ORDER
       Case 3:17-cr-00216-AA    Document 51     Filed 12/30/20   Page 18 of 27




without a warrant. Defendant contrasts the facts in this case arguing that agents

relied on subjective speculation about what might or might not have happened.

Here defendant notes that he was at work during the seizure while the agents knew

that computer was secure in his apartment. Defendant argues that it would have

been easier to secure the computer and pursue an electronic warrant while

defendant avoided contact with the agents that were in his apartment.

      In King, the Supreme Court approvingly noted that “‘the exigencies of the

situation make the needs of law enforcement so compelling that [a] warrantless

search is objectively reasonable under the Fourth Amendment,’” Mincey v. Arizona,

437 U.S. 385, 394 (1978). Defendant argues that these circumstances are “distinct

from one where law enforcement must act with exigency ‘to prevent the imminent

destruction of evidence.’” Brigham City v. Stuart, 547 U.S. 398, 403 (2006).

      The government argues that the exigency was not speculative nor did the

agents create it. Once Ms. Nine called defendant to inform him about the agents’

presence in the home and that they were looking for child pornography, the agents

reasonably inferred that defendant was avoiding contact with them due his sudden

departure from his work. Defendant told her that he would return home, but he did

not do so prior to the seizure of the computer. Instead, later defendant told her that

he was still at work despite Agent Sale being unable to locate him there.         The

government further argues that defendant “had every incentive to delete or destroy

the evidence on his computer equipment.” See United States v. Licata, 761 F.2d 537,

543 (9th Cir. 1985) (noted that evidence stored on a computer is fragile and that in



Page 18 – OPINION AND ORDER
       Case 3:17-cr-00216-AA    Document 51    Filed 12/30/20   Page 19 of 27




the totality of the circumstances that the officers knew at the time exigency existed

for the officers to seize the computer.) Given “[t]he fragile and easily destructible

nature of digital evidence at issue” the government argues that the agents had

“undeniable concerns regarding loss or possible destruction of contraband by the

owner.”7 United States v. Blood, 429 Fed. Appx. 670, 671 (9th Cir. 2011)

       The government contends that if the agents left to seek a warrant the

defendant or Ms. Nine, at defendant’s direction, could have easily deleted the files

in question.   Further, if they secured the residence, as defendant suggests, the

agents, one of whom was a computer forensics expert, would have to deal with the

defendant and Ms. Nine while trying to secure computer equipment, which would

have raised officer safety concerns. Thus, the government argues that the Agent

Sale had ample reason to seize the computer until he could apply for a warrant to

search it.

       The government also cites to several exemplary cases where the court found

exigent circumstances for a warrantless seizure. For example, the Ninth Circuit in

Blood reversed a district court’s order suppressing evidence where federal agents

had probable cause to believe that the defendant’s laptop computer contained child

pornography, and where the defendant admitted deleting child pornography files


       7See also United States v. Brown, 701 F.3d 120, 127 (4th Cir. 2012) (held that
it was reasonable for detectives to seize the defendant’s computer “to prevent the
destruction of relevant evidence” where the defendant knew they were investigating
“internet crimes against children.”); United States v. Bradley, 488 Fed. Appx. 99,
103 (6th Cir. 2012) (“[c]ourts have doubted the wisdom of leaving the owner of
easily-destructible contraband in possession of that contraband once the owner is
aware that law-enforcement agents are seeking a search warrant.”)

Page 19 – OPINION AND ORDER
       Case 3:17-cr-00216-AA      Document 51   Filed 12/30/20   Page 20 of 27




from his computer in the past “because he knew them to be illegal.”8 Id. However,

there, the defendant admitted to possessing contraband and the suspected laptop

computer was in the suspect’s physical possession during a face-to-face encounter

with law enforcement.         During the encounter, the suspect also admitted to

previously deleting contraband files on his computer and, at the end of the

consensual interview, the agents seized the computer based on exigency. The

immediacy of Mr. Blood’s control over and custody of the computer is in stark

contrast to the facts here.

      What distinguishes this case from Blood and others cited by the government

is that there was no imminent threat that the evidence in question would be

destroyed or that defendant had possession of the evidence in question. Defendant

may have had incentive to destroy evidence, though there is no evidence he had

done so in the past or was planning to do so. More importantly, there is no firm

evidence that he any opportunity to act upon that supposed incentive. Defendant


      8 See also United States v. Betche, 540 Fed. Appx. 838, 843 (10th Cir. 2013)
(upheld a warrantless seizure of computer where agents had probable cause to
believe it contained child pornography in which the officers had “reason to believe
that [he] might destroy the evidence,” and “no police manipulation created the
exigency.”); United States v. Bradley, 488 Fed. Appx. 99, 103 (6th Cir. 2012) (held
that exigent circumstances justified a warrantless seizure of the defendant’s
computer in a P2P child pornography case, where, during an interview, an
investigator informed the defendant of the substance of the investigation, and told
him that his computer contained an “identifying marker the police were tracking”
and it was it “objectively reasonable to seize a container an officer has probable
cause to believe contains evidence of a crime, rather than leave it unguarded in the
hands of a suspect.”); United States v. Diaz, 435 Fed. Appx. 329, 332 (5th Cir. 2011)
(held that exigent circumstances justifying a warrantless seizure of the defendant’s
computer where agents had probable cause to believe the computer contained child
pornography, and where the defendant denied owning a computer then attempted
to conceal the computer he had denied owning.)
Page 20 – OPINION AND ORDER
       Case 3:17-cr-00216-AA      Document 51   Filed 12/30/20   Page 21 of 27




was not at home or in possession of the computer. Moreover, there was no evidence

of ongoing criminal activity by the defendant.       Ms. Nine did not reveal any

incriminating information about defendant to agents, nor is there any evidence that

had defendant admitted to any wrongdoing.         Indeed, defendant never been in

contact with agents previously or on that day. The three agents had an open-ended

invitation from defendant’s roommate to remain in inside the apartment, which

they could have done until defendant returned or a warrant was obtained.

      While it is possible for electronic data to be deleted remotely, Agent sale

testified that the computer tower was not connected to the internet on the day of the

knock and talk.    Tr. 103-104.     However, Agent Posler later clarified that the

computer was connected to the router via an ethernet cable, and that router was

connected to the incoming modem. He stated that he disconnected these devices

prior to photographing the scene. However, there is no evidence that the defendant

was capable of remotely destroying evidence.

      Further, agents had ample opportunity to seek a warrant by electronic means

under Fed. R. Crim. P. 41(d)(3). The Ninth Circuit has found that government is

required “to attempt, in good faith, to secure a warrant or present evidence

explaining why a telephone warrant was unavailable or impractical.” Alvarez, 810

F. 2d at 883.     Again, agents had an open-ended invitation to remain at the

apartment and keep potential evidence secure. Defendant was not at the residence,

and agents had no evidence, other than speculation, to assume defendant would

imminently return. Indeed, Agent Sale himself felt that defendant was avoiding



Page 21 – OPINION AND ORDER
       Case 3:17-cr-00216-AA    Document 51    Filed 12/30/20   Page 22 of 27




them and had no idea when he might return. Also, while it is true that some of the

time spent during the investigation on that day, involved Agent Sale driving to and

from defendant’s workplace, the seizure occurred at around approximately 12:30

PM on a work day, when the District Court was open for public business.9 Agent

Sale also felt that he had to time consult with government attorneys prior to the

seizure.

      The Court recognizes that seeking an electronic warrant is not a simple,

instantaneous process, however, “police cannot avoid the good faith requirement of

attempting to obtain an arrest warrant because of an imagined delay.”           United

States v. George, 883 F.2d 1407, 1415 (9th Cir. 1989) Under these facts, there was

no sufficient reason why the government could not have at least attempted to secure

such a warrant while awaiting defendant’s return.10      There was no emergency

situation or threat that suspected evidence would be imminently destroyed. Agents

did speculate that defendant might have returned while waiting for approval from a

Magistrate Judge, which would have implicated officer safety concerns if both

defendant and Ms. Nine worked together to overcome agents.            The Court is

sensitive to such concerns, but the government bears a heavy burden in justifying a

search or seizure without a warrant.     “The [g]overnment does not satisfy this



      9  Even if the District Court were closed or near to closing for the day, the
District of Oregon maintains a rotation of on duty Magistrate and District Judges to
handle emergency matters outside of normal business hours.
       10 Cf.   U.S. v. Mickle, 886 F. 2d 1320 (9th Cir. 1989) (Police officers
responding to a reported gunshot entered a residence without warrant to provide
assistance when after knocking on door, surveilling the perimeter and speaking
with neighbors).
Page 22 – OPINION AND ORDER
       Case 3:17-cr-00216-AA   Document 51    Filed 12/30/20   Page 23 of 27




burden by leading a court to speculating about when may or might have been the

circumstances surrounding the warrantless search [or seizure].” United States v.

Hoffman, 607 F.2d 280, 283–84 (9th Cir. 1979) (internal citations omitted). The

evidence does not support finding this as an exigency, given that defendant was not

on the premises and seemed to be avoiding contact with agents.           Ms. Nine

cooperated with agents during their investigation, even asking defendant to come

speak with agents.

      The Government bears the burden to demonstrate that exceptional

circumstances justify departing from the warrant requirement. Spetz, 721 F. ed. At

1465-66. The Court finds that the government has not met that burden here. The

sweep of the government’s exigency argument goes too far beyond what has been

found permissible in previous cases. The Court also finds the agents could have

secured the area and obtained a telephonic warrant without fear of destruction of

the evidence.

      Having weighed benefits of deterrence and costs of suppression, the Court

GRANTS defendant’s motion to suppress.11

///

///

///

///



      11  Having found that the initial seizure of the devices violated the Fourth
Amendment, the Court need not examine deeply defendant’s arguments regarding
the sufficiency of the subsequent search warrants.
Page 23 – OPINION AND ORDER
          Case 3:17-cr-00216-AA   Document 51   Filed 12/30/20   Page 24 of 27




II.   Franks Hearing

      The Court denies defendant’s motion for a Franks hearing. The Ninth Circuit

has identified five requirements which must be met before a defendant is entitled to

a Franks hearing:

      (1) the defendant must allege specifically which portions of the warrant
      affidavit are claimed to be false; (2) the defendant must contend that
      the false statements or omissions were deliberately or recklessly made;
      (3) a detailed offer of proof, including affidavits, must accompany the
      allegations; (4) the veracity of only the affiant must be challenged; and
      (5) the challenged statements must be necessary to find probable
      cause.

United States v. DiCesare, 765 F.2d 890, 894-95 (9th Cir.), amended, 777 F.2d 543

(1985) (citation omitted). There is “a presumption for validity with respect to the

affidavit supporting the search warrant.” Franks v. Delaware, 438 U.S. 154, 171

(1978).

      Defendant raises essentially three Franks claims, (1) the warrant lacked

probable cause, (2) Agent Sale failed to follow protocol, and (3) Agent Sale did not

review the files transferred until a month after Agent Huntoon observed and

downloaded them in contrast to statements in his affidavit

      First, defendant argues that the warrant lacked probable cause, was

dependent on the fruits of an illegal search and seizure, as well as omitted and

added material facts in violation of the law and good faith under Leon. Defendant

also claims that in the affidavit for the search warrant the files were incorrectly

described as being known child pornography. In his affidavit, Agent Sale wrote that

on September 16, 2012, Agent Huntoon identified a computer at a particular IP



Page 24 – OPINION AND ORDER
       Case 3:17-cr-00216-AA      Document 51    Filed 12/30/20   Page 25 of 27




address “that was offering to share at least 52 files of known child pornography.”

Ex. A at 58, ¶ 30. In fact, the computer Agent Huntoon identified was offering to

share “at least 52 file(s) of investigative interest.” Ex. A at 13; Ex. 1 at 1; Huntoon

Decl. ¶ 6.    Files of investigative interest are often, but are not always, child

pornography. Id. at ¶ 5. Agent Sale testified that the affidavit’s probable cause was

based off the content of the files downloaded and not the names of the files. Tr. 123.

The Court finds, based on Agent Sale’s testimony, the statement was not made

deliberately or recklessly in the affidavit.

      Defendant also makes repeated references to the fact that NCMEC reported

that only one of the downloaded files depicted an identified child, and even then,

cautioned that the file may or may not constitute child pornography.               The

government notes that NCMEC did not review the contents of the downloaded files,

so it is not surprising that they could not say whether any of them contained child

pornography. Nonetheless, all the files did contain child pornography. Agent Sale

looked at each file and described each in detail in the affidavit. Ex. A at 59-60, ¶ 36.

Each constitutes child pornography, regardless of whether the children depicted in

them have been identified.

      Second, defendant also argues that Agent Sale failed to follow Secret Service

procedure by logging evidence correctly and in a timely manner. Defendant alleges

that Agent Sale received a disc containing the files in question from Agent Huntoon

on September 19, 2012, but Agent Sale did not place the disc into evidence until

November 27, 2012.



Page 25 – OPINION AND ORDER
       Case 3:17-cr-00216-AA    Document 51    Filed 12/30/20   Page 26 of 27




      Third, defendant contends that Agent Sale did not review the files

transferred until a month after Agent Huntoon observed and downloaded them in

contrast to his affidavit. It is true that Agent Sale did not receive the disk in

question until September 19, 2012. But his affidavit mentions his knowledge on

September 16, 2012 that Agent Huntoon identified a computer that was offering to

share at least 52 files of known child pornography.        Defendant argues that

defendant could not have “known” about the files on September 16, 2012 based on

his own report.

      The government notes that when Agent Sale is describing the events of

September 16 and 17, he was simply describing the information Agent Huntoon

provided him.     Specifically, he noted in his affidavit that Agent Huntoon was

investigating to identify people who were in possession of and sharing child

pornography and that Agent Huntoon identified a computer with a particular IP

address and downloaded seven complete files from the address.

      Defendant arguments do not to rise to the standard required for granting a

Franks motion. There are some minor inconsistencies in the affidavit, but, based on

the submissions of the parties and the testimony offered at oral argument, the

Court finds that they do not rise to deliberate falsehoods or reckless disregard for

the truth.

                                 CONCLUSION

      For the reasons set forth herein, defendant Motion to Suppress (Doc. 24) is

GRANTED. The request for production of witness statements is denied without



Page 26 – OPINION AND ORDER
       Case 3:17-cr-00216-AA      Document 51    Filed 12/30/20   Page 27 of 27




prejudice. Finally, the Court denies the motion for a Franks hearing.12 The parties

shall file a joint status report with the Court updating the Court on their positions

moving forward, including whether an appeal of this ruling will be sought with 21

days of this order.

      IT IS SO ORDERED.

                 30th day of ___________,
      DATED THIS _____        December 2020


                                     /s/Ann Aiken
                            ____________________________
                                    ANN AIKEN
.                              U.S. DISTRICT JUDGE




      12   The Court also denies Defendant’s Motion for Reconsideration. Doc. 40.
Page 27 – OPINION AND ORDER
